It has been several times decided that moneys in the hands of a sheriff cannot be attached. Those decisions are analogous to the present. They were made on the ground that the judgments of courts of justice should be effectual. Were the moneys levied in pursuance of them attachable, they might be defeated; attachments would be levied on such moneys when perhaps the plaintiffs were far distant, and unable from that circumstance to resist the claims made against them; no man would be assured of the effect of his judgment.
Judgment for defendant.
NOTE. — See Overton v. Hill, 5 N.C. 47. But the surplus remaining in a sheriff's hands after the execution under which it was raised has been satisfied may be attached. Orr v. McBride, 4 N.C. 236. So of the surplus in the hands of a trustee after satisfaction of the trust debts. Peace v. Jones, 7 N.C. 256. Property in the hands of an administrator, which will belong to the debtor as a distributee, after settlement of the administrator's accounts, cannot be attached. Elliott v.Newby, 9 N.C. 21. See, also, Gillis v. McKay, 15 N.C. 172. An attachment cannot be levied upon property held by, or debts due to, absconding debtors as trustees for others. Simpson v. Harry, 18 N.C. 202.
Cited: Hunt v. Stephens, 25 N.C. 365; Coffield v. Collins, 26 N.C. 491.
Overruled: Gaither v. Bellew, 49 N.C. 493; Williamson v. Nealy,119 N.C. 341; LeRoy v. Jacobosky, 136 N.C. 458. *Page 179 